                              Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 1 of 43 Page ID
                                                               #:2754


                                  Milord A. Keshishian, SBN 197835
                              1   milord@milordlaw.com
                                  Stephanie V. Trice, SBN 324944
                              2   stephanie@milordlaw.com
                              3
                                  MILORD & ASSOCIATES, P.C.
                                  10517 West Pico Boulevard
                              4   Los Angeles, California 90064
                                  Tel: (310) 226-7878
                              5   Fax: (310) 226-7879
                              6   Attorneys for Plaintiff
                                  Beyond Blond Productions, LLC
                              7
                              8
                                                           UNITED STATES DISTRICT COURT
                              9
                                                          CENTRAL DISTRICT OF CALIFORNIA
                             10
                             11   BEYOND BLOND PRODUCTIONS, LLC, CASE NO.: 2:20-cv-05581 DSF (GJSx)
                             12   a California limited liability company;
                                                                        DECLARATION OF MILORD A.
MILORD & ASSOCIATES, PC




                             13              Plaintiff,
 10517 West Pico Boulevard




                                                                        KESHISHIAN IN SUPPORT OF
   Los Angeles, CA 90064
       (310) 226-7878




                             14                                         BEYOND BLOND AND MICHELLE
                                               vs.                      JUSTICE’S MOTION TO DISMISS
                             15
                                                                        DEFENDANTS’ AMENDED
                             16   EDWARD HELDMAN III, an individual; COUNTERCLAIMS AND THIRD-
                             17   COMEDYMX, INC., a Nevada corporation; PARTY COMPLAINT (ECF NO. 138)
                                  COMEDYMX, LLC, a Delaware limited
                             18   liability company; and DOES 1-10;     Date:   September 27, 2021
                             19                                             Time:     1:30 p.m.
                                             Defendants.                    Location: Courtroom 7D
                             20
                                  ___________________________________                 350 West 1st Street
                             21   And Related Counterclaims and Third-Party           Los Angeles, California 90012
                             22
                                  Claims

                             23
                             24
                             25
                             26
                             27
                             28



                                                  DECLARATION OF MILORD A. KESHISHIAN ISO
                                     MOTION TO DISMISS DEFENDANTS’ AMENDED COUNTERCLAIMS (ECF NO. 138)
                              Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 2 of 43 Page ID
                                                               #:2755



                              1                     DECLARATION OF MILORD A. KESHISHIAN
                              2
                              3   I, Milord A. Keshishian, hereby swear and affirm pursuant to 28 U.S.C. §1746 upon
                              4   direct personal knowledge that the following is true and correct:
                              5         1.     I am an attorney duly licensed to practice before this Court and am a
                              6   principal of Milord & Associates, P.C., counsel of record for Plaintiff Beyond Blond, Inc.
                              7   (“Beyond Blond”). Unless otherwise stated, I have first-hand personal knowledge of the
                              8   facts stated herein and if called as a witness could competently testify thereto.
                              9         2.     I am readily familiar with the facts in this matter.
                             10         3.     On February 21, 2020, Defendants’ counsel sent a DMCA takedown notice
                             11   to Amazon accusing Beyond Blond of trademark infringement. A true and correct copy
                             12   of Amazon’s email to Defendants’ counsel confirming receipt of Defendants’ DMCA
                                  takedown notice for trademark infringement is attached as EXHIBIT A.
MILORD & ASSOCIATES, PC




                             13
 10517 West Pico Boulevard
   Los Angeles, CA 90064




                                        4.     Amazon rejected the takedown notice the same day because Defendants
       (310) 226-7878




                             14
                             15   ComedyMX LLC and Heldman did not own any registered trademarks. A true and
                             16   correct copy of Amazon’s rejection of Defendants’ DMCA takedown notice is for
                             17   trademark infringement is attached as EXHIBIT B.
                             18         5.     Defendant Heldman then personally fabricated a trademark infringement
                             19   claim baselessly asserting to Amazon that Defendants owned trademark rights in
                             20   Performing Arts copyright registrations, and filed false DMCA takedown notices in bad
                             21   faith. True and correct copies of Defendants’ DMCA takedown notices are attached as
                             22   EXHIBIT C and EXHIBIT D.
                             23         6.     During the prosecution of the CARTOON CLASSICS + Design trademark
                             24   application, Defendants concealed from the Examining Attorney their blatant copying of
                             25   off-the-shelf Freestyle Script font and clipart eyes.
                             26         7.     In 2020 and 2021, I reviewed Defendants’ 8thManDVD.com Cartoon
                             27   Channel on YouTube and note that Defendants use “cartoon classics” term generically to
                             28   say “what” videos they show on YouTube, e.g. “Looney Tunes cartoon classics” in the

                                                                    -1-
                                                  DECLARATION OF MILORD A. KESHISHIAN ISO
                                     MOTION TO DISMISS DEFENDANTS’ AMENDED COUNTERCLAIMS (ECF NO. 138)
                              Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 3 of 43 Page ID
                                                               #:2756



                              1   “8thManDVD cartoon classics 2016 intro.” A true and correct copy of the webpage
                              2   printouts of the below 8thManDVD.com videos is attached as Exhibit E.
                              3                a. Looney Tunes Cartoon Classics: Bars and Stripes Forever (1939)
                              4                b. Looney Tunes Cartoon Classics: The Lion’s Busy (Leo the Lion) (1948)
                              5                c. Looney Tunes Cartoon Classics: Plane Dippy (Porky Pig) (1936)
                              6                d. Looney Tunes Cartoon Classics: The Lion’s Busy (Leo the Lion) (1948)
                              7                e. 8thManDVD Cartoon Classics 2016 Intro
                              8                f. Looney Tunes Cartoon Classics: Coy Decoy (Porky Pig & Daffy Duck)
                              9                   (1941)
                             10                g. Looney Tunes Cartoon Classics: Porky’s Midnight Matinee (1941)
                             11                h. Looney Tunes Cartoon Classics: Boom Boom (Porky Pig) (1935)
                             12          8.    I reviewed Defendants 8thManDVD.com Cartoon Channel on YouTube and
                                  note that Defendants always use their 8thManDVD.com trademark directly above the
MILORD & ASSOCIATES, PC




                             13
 10517 West Pico Boulevard
   Los Angeles, CA 90064




                                  generic cartoon classics term.
       (310) 226-7878




                             14
                             15          9.    Defendants’ amended counterclaims came weeks after the parties met and
                             16   conferred regarding Beyond Blond’s intended motion for judgment on the pleadings for
                             17   the trademark infringement counterclaims. The parties met and conferred regarding
                             18   Beyond Blond’s intended motion for judgment on the pleadings on August 3, 2021.
                             19   Defendants’ amended counterclaims were filed on August 13, 2021. Upon information
                             20   and belief, Defendants’ improper amendment reopened the pleadings to circumvent
                             21   Beyond Blond’s imminent motion for judgment on the pleadings.
                             22          10.   On August 23, 2021, the parties commenced the meet and confer process
                             23   regarding the instant motion pursuant to Local Rule 7-3. On August 27, 2021, the parties
                             24   met and conferred again. No resolution was reached and Defendants stated that they
                             25   would oppose the motion.
                             26   //
                             27   //
                             28   //

                                                                      -2-
                                                    DECLARATION OF MILORD A. KESHISHIAN ISO
                                       MOTION TO DISMISS DEFENDANTS’ AMENDED COUNTERCLAIMS (ECF NO. 138)
                              Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 4 of 43 Page ID
                                                               #:2757



                              1   I declare under penalty of perjury under the laws of the United States of America that the
                              2   foregoing is true and correct.
                              3         Executed on this 30th day of August, 2021 in Los Angeles, California.
                              4
                                                                                     /s/ Milord A. Keshishian
                              5                                                      Milord A. Keshishian
                              6
                              7
                              8
                              9
                             10
                             11
                             12
MILORD & ASSOCIATES, PC




                             13
 10517 West Pico Boulevard
   Los Angeles, CA 90064
       (310) 226-7878




                             14
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                                                                    -3-
                                                  DECLARATION OF MILORD A. KESHISHIAN ISO
                                     MOTION TO DISMISS DEFENDANTS’ AMENDED COUNTERCLAIMS (ECF NO. 138)
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 5 of 43 Page ID
                                 #:2758




                                                         EXHIBIT A
Case
  Case
     2:20-cv-05581-DSF-GJS
       2:20-cv-05581-DSF-GJSDocument
                              Document
                                     71-7
                                       143-1
                                          FiledFiled
                                                 12/28/20
                                                     08/30/21
                                                           Page
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                                                                1 of62ofPage
                                                                        43 Page
                                                                             ID #:1037
                                                                                  ID
                                     #:2759




                 Beyond Blond Productions, LLC v. Heldman, et al.,
                         Case No. 2:20-cv-05581-DSF-GJSx
                         DECLARATION OF BEN T. LILA
                      IN SUPPORT OF MOTION FOR ORDER
                    GRANTING SPECIAL MOTION TO STRIKE
           COUNTS IV, V, AND VI IN FIRST AMENDED COMPLAINT




                              EXHIBIT E




                                                 Declaration of Ben T. Lila, Ex. E
                                                                              023
          Case
            Case
               2:20-cv-05581-DSF-GJS
                 2:20-cv-05581-DSF-GJSDocument
                                        Document
                                               71-7
                                                 143-1
                                                    FiledFiled
                                                           12/28/20
                                                               08/30/21
                                                                     Page
                                                                        Page
                                                                          2 of72ofPage
                                                                                  43 Page
                                                                                       ID #:1038
                                                                                            ID
Lila
   T.
    Ben                                        #:2760



From:                  Amazon <no-reply-notice-outreach@amazon.com>
Sent:                  Friday, February 21, 2020 4:47 PM
To:                    Ben T. Lila
Subject:               We Have Received Your Infringement Complaint about B06VY19XFP, B06XDQBQLN, B071XNKHNK,
                       B07513T34P, B079T6GWF6


Hello,

We received your email. Amazon respects the intellectual property rights of others. After we process your notice, we will
notify you by email. This usually takes 1 to 2 days.

Complaint ID: 6827855161

Sincerely,
Amazon.com




                                                            1
                                                                    Declaration of Ben T. Lila, Ex. E
                                                                                                 024
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 8 of 43 Page ID
                                 #:2761




                                                         EXHIBIT B
Case
  Case
     2:20-cv-05581-DSF-GJS
       2:20-cv-05581-DSF-GJSDocument
                              Document
                                     71-8
                                       143-1
                                          FiledFiled
                                                 12/28/20
                                                     08/30/21
                                                           Page
                                                              Page
                                                                1 of92ofPage
                                                                        43 Page
                                                                             ID #:1039
                                                                                  ID
                                     #:2762




                 Beyond Blond Productions, LLC v. Heldman, et al.,
                         Case No. 2:20-cv-05581-DSF-GJSx
                         DECLARATION OF BEN T. LILA
                      IN SUPPORT OF MOTION FOR ORDER
                    GRANTING SPECIAL MOTION TO STRIKE
           COUNTS IV, V, AND VI IN FIRST AMENDED COMPLAINT




                              EXHIBIT F




                                                 Declaration of Ben T. Lila, Ex. F
                                                                              025
          Case
           Case2:20-cv-05581-DSF-GJS
                 2:20-cv-05581-DSF-GJSDocument
                                       Document71-8
                                                143-1
                                                    Filed
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                                                           12/28/20
                                                              08/30/21
                                                                     Page
                                                                       Page
                                                                          2 of10
                                                                               2 ofPage
                                                                                    43 Page
                                                                                        ID #:1040
                                                                                              ID
Lila
   T.
    Ben                                        #:2763



From:                  Amazon <notice-dispute@amazon.com>
Sent:                  Friday, February 21, 2020 9:41 PM
To:                    Ben T. Lila
Subject:               Your Report of Rights Infringement on Amazon.com


Hello,

Thank you for your report of infringement. We cannot take action on your report for the reasons listed below.

-- You did not provide a (valid) registration number for your IP right (trademark, patent, or design), or the registration does
not show that you own an enforceable IP right. Trademarks, patents, and designs must be validly registered. We do not
enforce pending applications or expired IP rights.

If you believe a materially different product is being sold on this listing, you can report this possible violation as follows:
1) Visit our Contact Us page (https://sellercentral.amazon.com/cu/contact-us).
2) Select &quot;Other issues&quot; on the left side of the page.
3) Select &quot;Report a violation&quot; on the Contact Us form.

All reports are thoroughly investigated by our investigations team.

For example, selecting trademark infringement but discussing copyright issues in the submission will result in the notice
being processed as a trademark complaint. To report infringement of a trademark and a copyright, separate notices must
be filed.

ASIN: B071XNKHNK, B06VY19XFP, B06XDQBQLN, B07513T34P, B079T6GWF6 Complaint ID: 6827855161

To learn more about Amazon Intellectual Property policies, please review our Rights Owner Help Content
(https://sellercentral.amazon.com/gp/help/external/U5SQCEKADDAQRLZ).

Sincerely,

Seller Performance Team
Amazon.com

=======================
If you are a Rights Owner with a registered trademark, you may be eligible to enroll your brand in the Amazon Brand
Registry. Amazon Brand Registry provides access to powerful tools, including proprietary text and image search,
predictive automation based on your reports of suspected intellectual property rights violations, and increased authority
over product listings with your brand name. To learn more and start the enrollment process, please visit the Amazon
Brand Registry page (https://brandservices.amazon.com/?ld=BRUSNFE).




                                                                1
                                                                          Declaration of Ben T. Lila, Ex. F
                                                                                                       026
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 11 of 43 Page ID
                                  #:2764




                                                          EXHIBIT C
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 12 of 43 Page ID
                                  #:2765                    EDWARD HELDMAN III
                                                                                       PRESIDENT
                                                                                  COMEDYMX, INC.




                                                      February 29, 2020

 Via Email Only to abuse@amazonaws.com

 Copyright Agent/Amazon Web Services
 Amazon.com Legal Department
 P.O. Box 81226
 Seattle, WA 98108
 phone: (206) 266-4064
 fax: (206) 266-7010
 e-mail: abuse@amazonaws.com




        Re:     DMCA TAKEDOWN NOTICE – CARTOON CLASSICS By BB
                Productions Pursuant to 17 U.S.C. § 512(c)(3)(A)

 Ladies and Gentlemen:

           It has come to the attention of Comedy MX, Inc. (“Comedy MX”) that its intellectual
 property is being infringed by BB Productions (“BB Productions”) on Amazon. Specifically,
 ComedyMX owns the copyright to the CARTOON CLASSICS original stylized logo design. BB
 Production’s use is unauthorized and is being used promote similar goods and services on your
 website Amazon.com. The unauthorized copying of ComedyMX’s original stylized logo
 constitutes willful infringement under the Copyright Act (17 U.S.C. § 101, et. seq.), which
 entitles ComedyMX to damages, profits, statutory damages, injunctive relief and attorneys’ fees.

        ComedyMX is also the owner of all copyright rights associated with its original stylized
 logo design that is the subject of multiple copyright registrations, including U.S. Copyright No.
 PAu003798644. See more extensive list below.

        The Copyrighted Work is now being infringed on Amazon in the CARTOON CLASSICS
 Cartoon Compilation videos By BB Productions (the “Infringing Material”).

        The Infringing Material can be found at the following URLs:

 Cartoon Classics - Vol. 1: 25 Favorite Cartoons - 3 Hours
 https://www.amazon.com/Cartoon-Classics-Favorite-Cartoons-Hours/dp/B06WD8MNGG/


 Cartoon Classics - Vol. 2: 25 Favorite Cartoons - 3 Hours

 TEL 201.679.7428                         123 W NYE LN                    eheldman3@comedymx.com
                                    CARSON CITY, NEVADA 89706                   www.comedymx.com
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 13 of 43 Page ID
                                  #:2766

 Amazon
 February 29, 2020
 Page 2 of 4


 https://www.amazon.com/Cartoon-Classics-Favorite-Cartoons-Hours/dp/B06XDQBQLN/


 Cartoon Classics - Vol. 3: 25 Favorite Cartoons - 3 Hours
 https://www.amazon.com/Cartoon-Classics-Favorite-Cartoons-Hours/dp/B071XNKHNK/


 Cartoon Classics - Vol. 4: 25 Favorite Cartoons - 3 Hours
 https://www.amazon.com/Cartoon-Classics-Favorite-Cartoons-Hours/dp/B07513T34P/


 Cartoon Classics - Vol. 5: 25 Favorite Cartoons - 3 Hours
 https://www.amazon.com/Cartoon-Classics-Favorite-Cartoons-Hours/dp/B079SRPXX9/


 Cartoon Classics - Vol. 6: 25 Favorite Cartoons - 3 Hours
 https://www.amazon.com/Cartoon-Classics-Favorite-Cartoons-Hours/dp/B07RYXR1X9/

        The Infringing Material includes the copyrighted artwork original stylized logo that was
 created by ComedyMX including the pending trademark application for the CARTOON
 CLASSICS Design USPTO Application #88789484.

       To be clear, this DMCA notice concerns multiple copyrights including but not limited to
 US Registration Numbers:

 PAu003798644
 PAu003801911
 PAu003986151
 PAu003803308
 PAu003801793
 PAu003801795
 PAu003803401
 PAu003921426

        ComedyMX requests that Amazon take down the Infringing Material immediately.

         ComedyMX has a good faith belief that the use of the material in the manner complained
 of is not authorized by ComedyMX as copyright owner.

         The information in this notification is accurate, and under penalty of perjury, ComedyMX
 is the owner of an exclusive right that is allegedly infringed.
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 14 of 43 Page ID
                                  #:2767

 Amazon
 February 29, 2020
 Page 3 of 4


         Nothing in this letter shall constitute a waiver or relinquishment of any rights, remedies
 or causes of action that ComedyMX may possess in connection with the issues raised in this
 letter. Moreover, ComedyMX expressly reserves all rights, remedies and causes of action it may
 have. This letter purports to be neither a complete statement of all relevant facts nor a complete
 statement of all of ComedyMX’s claims and causes of action in this case.

        Please do not hesitate to contact me if you have any questions regarding this letter. You
 may reach me via e-mail at eheldman3@comedymx.com

                                                      Best regards



                                                      Edward Heldman, III
                                                      President, ComedyMX, Inc.,


 C: +1.201.679.7428
 eheldman3@ComedyMX.com                              CC: ec2-abuse@amazon.com,
                                                         copyright@amazon.com

 ComedyMX Inc.
 123 W. Nye Lane, Suite 129
 Carson City, NV 89706
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 15 of 43 Page ID
                                  #:2768

 Amazon
 February 29, 2020
 Page 4 of 4
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 16 of 43 Page ID
                                  #:2769




                                                          EXHIBIT D
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 17 of 43 Page ID
                                  #:2770                    EDWARD HELDMAN III
                                                                                       PRESIDENT
                                                                                  COMEDYMX, INC.




                                                      March 30, 2020

 Via Email Only to abuse@amazonaws.com

 Copyright Agent/Amazon Web Services
 Amazon.com Legal Department
 P.O. Box 81226
 Seattle, WA 98108
 phone: (206) 266-4064
 fax: (206) 266-7010
 e-mail: abuse@amazonaws.com




        Re:    DMCA TAKEDOWN NOTICE – PATRIOTIC CARTOON CLASSICS By
               BB Productions Pursuant to 17 U.S.C. § 512(c)(3)(A)

 Ladies and Gentlemen:

          It has come to the attention of Comedy MX, Inc. (“Comedy MX”) that its intellectual
 property is being infringed by BB Productions (“BB Productions”) on Amazon. Specifically,
 ComedyMX owns the copyright to the CARTOON CLASSICS original stylized logo design
 which is part of multiple copyrighted works. BB Production’s use is unauthorized and is being
 used promote similar goods and services on your website Amazon.com. The unauthorized
 copying of ComedyMX’s original stylized logo constitutes willful infringement under the
 Copyright Act (17 U.S.C. § 101, et. seq.), which entitles ComedyMX to damages, profits,
 statutory damages, injunctive relief and attorneys’ fees.

         ComedyMX is also the owner of all copyright rights associated with its original stylized
 logo design which is part of multiple copyrighted works that is the subject of multiple copyright
 registrations, including U.S. Copyright No. PAu003798644. See more extensive list below.

        The Copyrighted Work is now being infringed on Amazon in the CARTOON CLASSICS
 Cartoon Compilation videos By BB Productions (the “Infringing Material”).

        The Infringing Material can be found at the following URLs:

  Patriotic Cartoon Classics: 25 All-American Cartoons from World War II
 https://www.amazon.com/Patriotic-Cartoon-Classics-All-American-Cartoons/dp/B071GZK4T4/




 TEL 201.679.7428                         123 W NYE LN                   eheldman3@comedymx.com
                                    CARSON CITY, NEVADA 89706                  www.comedymx.com
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 18 of 43 Page ID
                                  #:2771

 Amazon
 March 30, 2020
 Page 2 of 3


        The Infringing Material includes the copyrighted artwork original stylized logo that was
 created by ComedyMX including the pending trademark application for the CARTOON
 CLASSICS Design USPTO Application #88789484.

       To be clear, this DMCA notice concerns multiple copyrights including but not limited to
 US Registration Numbers:

 PAu003798644
 PAu003801911
 PAu003986151
 PAu003803308
 PAu003801793
 PAu003801795
 PAu003803401
 PAu003921426

        ComedyMX requests that Amazon take down the Infringing Material immediately.

         ComedyMX has a good faith belief that the use of the material in the manner complained
 of is not authorized by ComedyMX as copyright owner.

         The information in this notification is accurate, and under penalty of perjury, ComedyMX
 is the owner of an exclusive right that is allegedly infringed.

         Nothing in this letter shall constitute a waiver or relinquishment of any rights, remedies
 or causes of action that ComedyMX may possess in connection with the issues raised in this
 letter. Moreover, ComedyMX expressly reserves all rights, remedies and causes of action it may
 have. This letter purports to be neither a complete statement of all relevant facts nor a complete
 statement of all of ComedyMX’s claims and causes of action in this case.

        Please do not hesitate to contact me if you have any questions regarding this letter. You
 may reach me via e-mail at eheldman3@comedymx.com

                                                      Best regards



                                                      Edward Heldman, III
                                                      President, ComedyMX, Inc.,


 C: +1.201.679.7428
 eheldman3@ComedyMX.com                              CC: ec2-abuse@amazon.com,
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 19 of 43 Page ID
                                  #:2772

 Amazon
 March 30, 2020
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                                             copyright@amazon.com

 ComedyMX Inc.
 123 W. Nye Lane, Suite 129
 Carson City, NV 89706
Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 20 of 43 Page ID
                                  #:2773




                                                         EXHIBIT E
 Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 21 of 43 Page ID
                                   #:2774




Document title:                  Looney Tunes Cartoon Classics: Bars and Stripes Forever (1939) (HD) | Mel Blanc
                                 - YouTube

Capture URL:                     https://www.youtube.com/watch?v=oNSmOT3TGQs

Captured site IP:                172.217.13.78

Page loaded at (UTC):            Wed, 17 Jun 2020 23:34:23 GMT

Capture timestamp (UTC):         Wed, 17 Jun 2020 23:35:38 GMT

Capture tool:                    v7.0.6

Collection server IP:            52.5.8.50

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      3

Capture ID:                      baad79ef-fade-4c73-a9f1-f67ab7fc2b30

User:                            milord-priya




                        PDF REFERENCE #:           69GPr1uEik4fK4ALvgcP7N
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 22 of 43 Page ID
                                                  #:2775




Document title: Looney Tunes Cartoon Classics: Bars and Stripes Forever (1939) (HD) | Mel Blanc - YouTube
Capture URL: https://www.youtube.com/watch?v=oNSmOT3TGQs
Capture timestamp (UTC): Wed, 17 Jun 2020 23:35:38 GMT                                                      Page 1 of 2
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 23 of 43 Page ID
                                                  #:2776




Document title: Looney Tunes Cartoon Classics: Bars and Stripes Forever (1939) (HD) | Mel Blanc - YouTube
Capture URL: https://www.youtube.com/watch?v=oNSmOT3TGQs
Capture timestamp (UTC): Wed, 17 Jun 2020 23:35:38 GMT                                                      Page 2 of 2
 Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 24 of 43 Page ID
                                   #:2777




Document title:                  Looney Tunes Cartoon Classics: A Day at the Zoo (1939) (HD) | Tex Avery, Mel
                                 Blanc, Robert C. Bruce - YouTube

Capture URL:                     https://www.youtube.com/watch?v=uJ1jXVAm53Q

Captured site IP:                172.217.13.78

Page loaded at (UTC):            Wed, 17 Jun 2020 23:35:56 GMT

Capture timestamp (UTC):         Wed, 17 Jun 2020 23:36:35 GMT

Capture tool:                    v7.0.6

Collection server IP:            52.5.8.50

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      3

Capture ID:                      ea1041fc-b742-4fcd-ade0-c2356c541282

User:                            milord-priya




                        PDF REFERENCE #:           awHzjBqnL7AVwoYHPJ85tX
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 25 of 43 Page ID
                                                  #:2778




Document title: Looney Tunes Cartoon Classics: A Day at the Zoo (1939) (HD) | Tex Avery, Mel Blanc, Robert C. Bruce - YouTube
Capture URL: https://www.youtube.com/watch?v=uJ1jXVAm53Q
Capture timestamp (UTC): Wed, 17 Jun 2020 23:36:35 GMT                                                                          Page 1 of 2
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 26 of 43 Page ID
                                                  #:2779




Document title: Looney Tunes Cartoon Classics: A Day at the Zoo (1939) (HD) | Tex Avery, Mel Blanc, Robert C. Bruce - YouTube
Capture URL: https://www.youtube.com/watch?v=uJ1jXVAm53Q
Capture timestamp (UTC): Wed, 17 Jun 2020 23:36:35 GMT                                                                          Page 2 of 2
 Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 27 of 43 Page ID
                                   #:2780




Document title:                  Looney Tunes Cartoon Classics: The Lion's Busy (Leo the Lion) (1948) (HD) | Mel
                                 Blanc - YouTube

Capture URL:                     https://www.youtube.com/watch?v=KGVpH0o5PBE

Captured site IP:                172.253.63.190

Page loaded at (UTC):            Wed, 17 Jun 2020 23:37:26 GMT

Capture timestamp (UTC):         Wed, 17 Jun 2020 23:39:15 GMT

Capture tool:                    v7.0.6

Collection server IP:            52.5.8.50

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      3

Capture ID:                      08dcb998-03c4-4c87-b1b2-24bce75939a6

User:                            milord-priya




                        PDF REFERENCE #:           fzytZdF7M5TDvUcCarvkZq
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 28 of 43 Page ID
                                                  #:2781




Document title: Looney Tunes Cartoon Classics: The Lion&#39;s Busy (Leo the Lion) (1948) (HD) | Mel Blanc - YouTube
Capture URL: https://www.youtube.com/watch?v=KGVpH0o5PBE
Capture timestamp (UTC): Wed, 17 Jun 2020 23:39:15 GMT                                                                Page 1 of 2
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 29 of 43 Page ID
                                                  #:2782




Document title: Looney Tunes Cartoon Classics: The Lion&#39;s Busy (Leo the Lion) (1948) (HD) | Mel Blanc - YouTube
Capture URL: https://www.youtube.com/watch?v=KGVpH0o5PBE
Capture timestamp (UTC): Wed, 17 Jun 2020 23:39:15 GMT                                                                Page 2 of 2
 Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 30 of 43 Page ID
                                   #:2783




Document title:                  Looney Tunes Cartoon Classics: Plane Dippy (Porky Pig) (1936) (HD) | Billy
                                 Bletcher, Joe Dougherty - YouTube

Capture URL:                     https://www.youtube.com/watch?v=HCTMGlne6ac

Captured site IP:                172.253.63.91

Page loaded at (UTC):            Wed, 17 Jun 2020 23:42:47 GMT

Capture timestamp (UTC):         Wed, 17 Jun 2020 23:43:29 GMT

Capture tool:                    v7.0.6

Collection server IP:            52.5.8.50

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      3

Capture ID:                      19c1955c-3feb-415b-993a-685ebe32f776

User:                            milord-priya




                        PDF REFERENCE #:            73dzAPqGv77EWbkbxGH4Ku
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 31 of 43 Page ID
                                                  #:2784




Document title: Looney Tunes Cartoon Classics: Plane Dippy (Porky Pig) (1936) (HD) | Billy Bletcher, Joe Dougherty - YouTube
Capture URL: https://www.youtube.com/watch?v=HCTMGlne6ac
Capture timestamp (UTC): Wed, 17 Jun 2020 23:43:29 GMT                                                                         Page 1 of 2
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 32 of 43 Page ID
                                                  #:2785




Document title: Looney Tunes Cartoon Classics: Plane Dippy (Porky Pig) (1936) (HD) | Billy Bletcher, Joe Dougherty - YouTube
Capture URL: https://www.youtube.com/watch?v=HCTMGlne6ac
Capture timestamp (UTC): Wed, 17 Jun 2020 23:43:29 GMT                                                                         Page 2 of 2
 Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 33 of 43 Page ID
                                   #:2786




Document title:                  8thManDVD Cartoon Classics 2016 Intro - YouTube

Capture URL:                     https://www.youtube.com/watch?v=aqsel9UwvQM

Captured site IP:                172.217.15.78

Page loaded at (UTC):            Wed, 17 Jun 2020 23:44:34 GMT

Capture timestamp (UTC):         Wed, 17 Jun 2020 23:44:55 GMT

Capture tool:                    v7.0.6

Collection server IP:            52.5.8.50

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      4

Capture ID:                      08efeb15-22ea-4cd3-9e14-1e8742ef34a1

User:                            milord-priya




                        PDF REFERENCE #:           3eUnCsoQTErNgLk9owkNfy
               Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 34 of 43 Page ID
                                                 #:2787




Document title: 8thManDVD Cartoon Classics 2016 Intro - YouTube
Capture URL: https://www.youtube.com/watch?v=aqsel9UwvQM
Capture timestamp (UTC): Wed, 17 Jun 2020 23:44:55 GMT                                          Page 1 of 3
 Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 35 of 43 Page ID
                                   #:2788




Document title:                  Looney Tunes Cartoon Classics: Coy Decoy (Porky Pig & Daffy Duck) (1941) (HD)
                                 | Mel Blanc - YouTube

Capture URL:                     https://www.youtube.com/watch?v=sLHd4wxbR3g

Captured site IP:                172.217.13.238

Page loaded at (UTC):            Wed, 17 Jun 2020 23:46:13 GMT

Capture timestamp (UTC):         Wed, 17 Jun 2020 23:47:01 GMT

Capture tool:                    v7.0.6

Collection server IP:            52.5.8.50

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      3

Capture ID:                      0d2f352b-a8c0-4fed-be08-328452498457

User:                            milord-priya




                        PDF REFERENCE #:           5DuX8kKUhpLQtrvTCVEqXy
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 36 of 43 Page ID
                                                  #:2789




Document title: Looney Tunes Cartoon Classics: Coy Decoy (Porky Pig &amp; Daffy Duck) (1941) (HD) | Mel Blanc - YouTube
Capture URL: https://www.youtube.com/watch?v=sLHd4wxbR3g
Capture timestamp (UTC): Wed, 17 Jun 2020 23:47:01 GMT                                                                    Page 1 of 2
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 37 of 43 Page ID
                                                  #:2790




Document title: Looney Tunes Cartoon Classics: Coy Decoy (Porky Pig &amp; Daffy Duck) (1941) (HD) | Mel Blanc - YouTube
Capture URL: https://www.youtube.com/watch?v=sLHd4wxbR3g
Capture timestamp (UTC): Wed, 17 Jun 2020 23:47:01 GMT                                                                    Page 2 of 2
 Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 38 of 43 Page ID
                                   #:2791




Document title:                  Looney Tunes Cartoon Classics: Porky's Midnight Matinee (1941) (HD) | Mel
                                 Blanc, Kent Rogers - YouTube

Capture URL:                     https://www.youtube.com/watch?v=49MikvHvwC8

Captured site IP:                172.217.13.238

Page loaded at (UTC):            Wed, 17 Jun 2020 23:56:01 GMT

Capture timestamp (UTC):         Wed, 17 Jun 2020 23:57:06 GMT

Capture tool:                    v7.0.6

Collection server IP:            52.5.8.50

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      3

Capture ID:                      79ffc483-7f19-4d84-852d-ffd0e6810495

User:                            milord-priya




                        PDF REFERENCE #:           kckb1YDpLijFdXRJzFkzHJ
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 39 of 43 Page ID
                                                  #:2792




Document title: Looney Tunes Cartoon Classics: Porky&#39;s Midnight Matinee (1941) (HD) | Mel Blanc, Kent Rogers - YouTube
Capture URL: https://www.youtube.com/watch?v=49MikvHvwC8
Capture timestamp (UTC): Wed, 17 Jun 2020 23:57:06 GMT                                                                       Page 1 of 2
                Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 40 of 43 Page ID
                                                  #:2793




Document title: Looney Tunes Cartoon Classics: Porky&#39;s Midnight Matinee (1941) (HD) | Mel Blanc, Kent Rogers - YouTube
Capture URL: https://www.youtube.com/watch?v=49MikvHvwC8
Capture timestamp (UTC): Wed, 17 Jun 2020 23:57:06 GMT                                                                       Page 2 of 2
 Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 41 of 43 Page ID
                                   #:2794




Document title:                  Looney Tunes Cartoon Classics: Boom Boom (Porky Pig) (1935) (HD) | Tommy
                                 Bond, Joe Dougherty - YouTube

Capture URL:                     https://www.youtube.com/watch?v=dIh3fhRggQQ

Captured site IP:                172.217.13.78

Page loaded at (UTC):            Wed, 17 Jun 2020 23:59:14 GMT

Capture timestamp (UTC):         Wed, 17 Jun 2020 23:59:57 GMT

Capture tool:                    v7.0.6

Collection server IP:            52.5.8.50

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      3

Capture ID:                      01f7b7b3-8eda-42c2-826a-a734eba810e3

User:                            milord-priya




                        PDF REFERENCE #:           v3eiNtYCVCLiQo5yVnFEcC
               Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 42 of 43 Page ID
                                                 #:2795




Document title: Looney Tunes Cartoon Classics: Boom Boom (Porky Pig) (1935) (HD) | Tommy Bond, Joe Dougherty - YouTube
Capture URL: https://www.youtube.com/watch?v=dIh3fhRggQQ
Capture timestamp (UTC): Wed, 17 Jun 2020 23:59:57 GMT                                                                   Page 1 of 2
               Case 2:20-cv-05581-DSF-GJS Document 143-1 Filed 08/30/21 Page 43 of 43 Page ID
                                                 #:2796




Document title: Looney Tunes Cartoon Classics: Boom Boom (Porky Pig) (1935) (HD) | Tommy Bond, Joe Dougherty - YouTube
Capture URL: https://www.youtube.com/watch?v=dIh3fhRggQQ
Capture timestamp (UTC): Wed, 17 Jun 2020 23:59:57 GMT                                                                   Page 2 of 2
